            Case 1:19-cr-00018-ABJ Document 253 Filed 11/12/19 Page 1 of 2



                               IN THE UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF COLUMBIA
                                        Case 1:19-cr-00018-ABJ

UNITED STATES OF AMERICA,


       v.


ROGER J. STONE, JR.,

       Defendant.

__________________________________/



       DEFENDANT ROGER J. STONE'S PROPOSED SPECIAL JURY INSTRUCTION


       Defendant Roger J. Stone, Jr. files this proposed special jury instruction.


       When considering the word intermediary, you must apply the following definition:

       “Generally, an intermediary acts as a middleman, a broker, one who is employed to
       negotiate a matter between two parties, and who for that purpose may be [an] agent of
       both.”

Black's Law Dictionary 731 (5th ed.1979).


First Ins. Funding Corp. v. Fed. Ins. Co., 284 F.3d 799, 805 (7th Cir. 2002).

                                                    Respectfully submitted,

                                                    By: /s/_______________



ROBERT C. BUSCHEL                                    BRUCE S. ROGOW
BUSCHEL GIBBONS, P.A.                                FL Bar No.: 067999
D.D.C. Bar No. FL0039                                TARA A. CAMPION
One Financial Plaza, Suite 1300                      FL Bar: 90944
100 S.E. Third Avenue                                BRUCE S. ROGOW, P.A.
Fort Lauderdale, FL 33394                            100 N.E. Third Avenue, Ste. 1000
Telephone: (954) 530-5301                            Fort Lauderdale, FL 33301
Fax: (954) 320-6932                                  Telephone: (954) 767-8909
Buschel@BGlaw-pa.com                                 brogow@rogowlaw.com
                                                     tcampion@rogowlaw.com
           Case 1:19-cr-00018-ABJ Document 253 Filed 11/12/19 Page 2 of 2



                                                         Admitted pro hac vice

CHANDLER P. ROUTMAN                                      GRANT J. SMITH
D.D.C. Bar No. 1618092                                   STRATEGYSMITH, PA
501 East Las Olas Blvd., Suite 331                       D.D.C. Bar No.: FL0036
Fort Lauderdale, FL 33301                                401 East Las Olas Boulevard
Tele: (954) 235-8259                                     Suite 130-120
routmanc@gmail.com                                       Fort Lauderdale, FL 33301
                                                         Telephone: (954) 328-9064
                                                         gsmith@strategysmith.com




                                         CERTIFICATE OF SERVICE

        I hereby certify that on November 12, 2019, I electronically filed the foregoing with the Clerk of
Court using CM/ECF. I also certify that the foregoing document is being served this day on all counsel of
record or pro se parties identified on the attached service list in the manner specified, either via
transmission of Notices of Electronic Filing generated by CM/ECF or in some other authorized manner
for those counsel or parties who are not authorized to receive electronically Notice of Electronic filing.



   United States Attorney’s Office for the District of
                      Columbia

Jessie K. Liu
United States Attorney
Jonathan Kravis
Michael J. Marando
Assistant United States Attorneys
Adam C. Jed
Aaron S.J. Zalinsky
Special Assistant United States Attorneys
555 Fourth Street, NW
Washington, DC 20530
Telephone: (202) 252-6886
Fax: (202) 651-3393

                                                                     By: /s/ Robert Buschel
                                                                     ROBERT BUSCHEL
